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 14   Counsel to Defendant
 15   CallFire, Inc.

 16
                             UNITED STATES DISTRICT COURT
 17
                          CENTRAL DISTRICT OF CALIFORNIA
 18
                                  WESTERN DIVISION
 19
 20
      LEE WIGOD, individually and on        Case No. 2:19-cv-02874-SVW-MAA
 21   behalf of all others similarly
      situated,,                          Hon. Stephen V. Wilson
 22
                     Plaintiff,           STIPULATION TO EXTEND TIME
 23                                       TO RESPOND TO INITIAL
            v.                            COMPLAINT BY NOT MORE
 24                                       THAN 30 DAYS (L.R. 8-3)
      CALLFIRE, INC.,
 25                                       Complaint served:      April 29, 2019
                                          Current response date: May 20, 2019
 26        Defendant.                     New response date:     May 24, 2019
 27
 28
                                                      STIPULATION TO EXTEND TIME TO
                                                             RESPOND TO COMPLAINT
                                                                2:19-cv-02874-SVW-MAA
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  1         Pursuant to Local Rule 8-3, Plaintiff Lee Wigod (“Plaintiff”) and Defendant
  2   CallFire, Inc., (“CallFire” or “Defendant”) through their counsel, hereby stipulate as
  3   follows:
  4                                       RECITALS
  5         WHEREAS, Plaintiff filed his Complaint in this matter in the United States
  6   District Court for the Central District of California on or about April 15, 2019 (Dkt.
  7   No. 1);
  8         WHEREAS, on April 29, 2019, Defendant was served with the Complaint in
  9   this action;
 10         WHEREAS, the deadline for Defendant to respond to the Complaint is
 11   currently May 20, 2019;
 12         WHEREAS, on May 16, 2019, the parties entered into a stipulation extending
 13   the time for Defendant to respond to the Complaint by 8 days, pursuant to Local Rule
 14   8-3, extending the time to respond to May 24, 2019.
 15                                     STIPULATION
 16         The parties hereby agree, through counsel, that Defendant’s deadline to
 17   respond to the Complaint is extended to May 24, 2019.
 18         Pursuant to Local Rule 5-4.3.4, Ann T. Rossum hereby attests that the
 19   following signatories concur in the filing’s content and have authorized the filing.
 20         IT IS SO STIPULATED.
 21
       Dated: May 16, 2019                     WOODROW & PELUSO, LLC
 22
 23                                            /s/ Steven L. Woodrow
                                               Steven L. Woodrow
 24                                            swoodrow@woodrowpeluso.com
                                               3900 East Mexico Avenue, Suite 300
 25                                            Denver, Colorado 80210
                                               Telephone: (720) 213-0675
 26
                                               Attorneys for Plaintiff
 27                                            Lee Wigod
 28
                                                            STIPULATION TO EXTEND TIME TO
                                                                     RESPOND TO COMPLAINT
                                              -2-              Case No. 2:19-cv-02874-SVW-MAA
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  1    Dated: May 16, 2019                 JONES DAY
  2
                                           /s/ Ann T. Rossum
  3
                                           Cheryl L. O’Connor
  4
                                           coconnor@jonesday.com
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 15
 16                                        Counsel to Defendant
                                           CallFire, Inc.
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                                                      STIPULATION TO EXTEND TIME TO
                                                               RESPOND TO COMPLAINT
                                          -3-            Case No. 2:19-cv-02874-SVW-MAA
